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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           :
                                                   :
       v.                                          :       Criminal Action No.: 21-93 (RC)
                                                   :
JOHN D. ANDRIES,                                   :
                                                   :
       Defendant.                                  :

                            SENTENCING SCHEDULING ORDER

       It is hereby ORDERED that the following schedule shall govern the sentencing

proceedings in this case:

            1. sentencing in this matter is set for January 10, 2023, at 10:00 a.m. via Zoom

               Video;

            2. the probation officer assigned to this case shall disclose the draft pre-sentence

               investigation report to the parties no later than November 28, 2022;

            3. counsel shall submit objections (if any) to the draft pre-sentence investigation

               report to the probation officer no later than December 12, 2022;

            4. the probation officer shall disclose to the parties and file with the Court the final

               pre-sentence investigation report no later than December 19, 2022; and

            5. any party wishing to submit a memorandum in aid of sentencing must do so no

               later than January 3, 2023, with all responses (if any) due by January 6, 2023,

               and all such memoranda and responses thereto must cite to supporting legal

               authority.

       SO ORDERED.


Dated: 08/23/2022                                                   RUDOLPH CONTRERAS
                                                                    United States District Judge
